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  EXHIBIT C
USPS.com® - USPS Tracking® Results                      https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&t...
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